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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION

THE UNITED STATES OF AMERICA,                       )
                                                    )
       Plaintiff,                                   )
v.                                                  )       6:20CR1-17
                                                    )
TERRY WILLIAMS,                                     )
                                                    )
      Defendant.                                    )


                                          ORDER


       Counsel in the above-captioned case has advised the Court that all pretrial motions filed

on behalf of the defendant have been complied with and/or resolved by agreement. Therefore, a

hearing in this case is deemed unnecessary.

       IT IS ORDERED that all pretrial motions filed on behalf of the defendant, Terry

Williams, are DISMISSED.

       SO ORDERED, this WK day of October 2020.




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                                                       PHER
                                                        H   L. RAY
                                              UNITED STATES S MAGISTRATE JUDGE
                                                                           J
                                              SOUTHERN DISTRICT OF GEORGIA
